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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-            Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS                          MDL No. 3014
 LITIGATION

 This Document Relates to: All Actions
 Asserting Claims for Medical Monitoring



        UNOPPOSED MOTION OF PROPOSED SETTLEMENT CLASS
       REPRESENTATIVES FOR PRELIMINARY APPROVAL OF CLASS
   SETTLEMENT AGREEMENT AND RELEASE OF MEDICAL MONITORING
  CLAIMS AND TO DIRECT NOTICE TO THE PROPOSED SETTLEMENT CLASS

       The proposed Settlement Class Representatives, Elizabeth Lemus and Marilynn Sweeney,

hereby respectfully move the Court for an Order to, among other things: (1) conditionally certify

the proposed Settlement Class; (2) preliminarily approve the Settlement; (3) determine that the

Settlement appears fair, reasonable, and adequate within the meaning of Rule 23(a) and (b)(2) of

the Federal Rules of Civil Procedure; (4) order that appropriate notice be provided to the

Settlement Class pursuant to the terms of the Settlement Agreement and Federal Rule of Civil

Procedure 23(c)(2)(A); (5) give Settlement Class Members the right to object to the Settlement;

(6) inform Settlement Class Members that they do not have the right to opt out of the Settlement;

(7) inform Settlement Class Members that they will be bound by the Final Order and Judgment;

(8) stay and enjoin Settlement Class Members from pursuing all Medical Monitoring Claims

against Defendants and the other Released Parties, whether in the MDL Court or in any other court

or tribunal, until such time as the MDL Court has determined whether to enter the Final Order and

Judgment; (9) schedule the Final Fairness Hearing following entry of the Preliminary Approval

Order; (10) appoint BrownGreer PLC as the Notice Administrator; (11) appoint BrownGreer PLC
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as the Qualified Settlement Fund (“QSF”) Administrator; (12) appoint Wolf Global Compliance

as the Settlement Administrator; (13) appoint Huntington National Bank as the Custodian Bank;

(14) appoint the Settlement Class Representatives; (15) appoint Settlement Class Counsel; (16)

order the establishment of the Settlement Fund, as set forth in the Settlement Agreement; (17)

order the payment of all reasonable costs of Class Notice and Settlement Administration, as set

forth in the Settlement Agreement; (18) find that the Settlement Fund is a “Qualified Settlement

Fund” as defined in Section 468B-1(c) of the Treasury Regulations; and (19) provide that any

objections by any Settlement Class Member to the Settlement shall be heard and any papers

submitted in support of said objections shall be considered by the MDL Court at the Final Fairness

Hearing only if, on or before the conclusion of the Objection Period specified in the Settlement

Notice and the Preliminary Approval Order, such Settlement Class Member follows the required

procedures.

       The Philips Defendants do not oppose this Motion.

       In further support of this Motion, proposed Settlement Class Representatives submit the

accompanying Brief in support of Preliminary Approval; the proposed Settlement Agreement, with

attachments; the proposed Preliminary Approval Order; the declaration of Settlement Class

Counsel; and the declaration of Orran L. Brown, Sr. on behalf of the proposed Notice

Administrator, BrownGreer PLC.

       Proposed Settlement Class Representatives respectfully request a hearing on this Motion.

       Proposed Settlement Class Representatives further request that their Motion be granted,

and a proposed Preliminary Approval Order is attached hereto.




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Dated: May 9, 2024                                Respectfully submitted,

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